©
—
oO
od
oO
o
©
oO
~
N
—
oO
N
—
©
oO
TC
oO
iL
o
oO
LO
0
Ww
Cc
o
E
5S
oO
oO
QO
<
Zz
2
o
o
o
o
o
E
~
N
od
Oo
YN
©
O

Case 1:23-mi-99999-UNA Document 850-2 Filed 03/20/23 Page 2 of 6

ed .
rk Hl z>
Ef a5
E MRD i Ey 33 |
TEE oy 724] ces |e
EES ay:
: he 2
oF F 4 iid: *,
Fey . $2iS a, % 5.
S 2h ‘ 2
ae ree we oF
he = ° oe = 6
a uy eh
EEE £g &

a eee

aaa NEPAL

« w¥a/ Country Code aeet 4/ Passport No

St TPO 10207957

w/ Surname

SUBEDI

a/ Given Names

SHOVA

aen/ Nabonality

NEPALESE

ae Date of Birth aefrem 4/ Citizenship No.
a 3510255270

fea / Sex wwent/ Place of Birth
F CHITWAN “
wh tehy Date of Issue wt wf Pre/ oJ
18 JAN 2017 MOFA, OF PASSPORT
enc ae Bitty Date of Expiry cet wf/ Holder's Signature :

17 JAN 2027 Boe oe

ol

oo
*

P<NPLSUBEDI<<SHOVA<<<<<<<<<<<<<<<<<<<<<ceece
10207957<5NPL9307012F27011723510255270<<<<68

—— ~
Case 1:23-mi-99999-UNA Document 850-2 Filed 03/20/23 Page 3 of 6

Case 1:23-mi-99999-UNA Document 850-2 Filed 03/20/23 Page 4 of 6

SUBEDI

SH OVA

10207957

Case 1:23-mi-99999-UNA Document 850-2 Filed 03/20/23 Page 5 of 6

& for: PRAKASH REGMI

s

Y, USPS OLUT-j Colnnl-#-leleMailelge(-lmi ce)ieilels

ey Tt lalel Mada eA

Most Recent |-94

Admission (1-94) Record Number ; 17798099040
Most Recent Date of Entry: 2016 August 06
Class of Admission : F1

Admit Until Date : D/S
Details provided on the 1-94 Information form:

Last/Surname : REGMI
First (Given) Name : PRAKASH
Birth Date :

Puceport Nhsvher : 08652040

Country of Issuance; Nepal

Get Travel History

> Effective April 26, 2013, DHS began g the ad pr An alien lawfully admitted or paroled into the US. is no longer
required to be in possession of a preprinted Form |-94. A record of admission printed from the CBP website constitutes a lawful record of
admission, See 6 CFR § 1.4(d).

& if an ornployer, local, state or federal agency req drm trv ion, p your admi: (1-94) number along with any
additional required & q d by that employer or ag
P Note For Y we d that you close your browser after you have fished 9 your 1-94 numb

omen toe veneer
bees atten eaten eee

For inguines or questions regarding your 1-94, please click here
Accessibility | Privacy Policy

Case 1:23-mi-99999-UNA Document 850-2 Filed 03/20/23 Page 6 of 6

@& For: SHOVA SUBEDI

URS @TET Colngl-#-laie Mi =1e) ce (=) ml sce) (- est lela)

Nor Torte lel tae ele lees ge

Most Recent !-94

Admission (I-94) Record Number : 46064942085
Most Recent Date of Entry: 2017 June 27

Class of Admission : F2

Admit Until Date ; D/S

Details provided on the I-94 information form:

Last/Surname : SUBEDI
First (Given) Name : SHOVA
Birth Date

Passport Number : 10207957

Country of issuance: Nepal

[ Get Travel History |
> Effective April 26, 2013, DHS began ting the admission pr An alien lawtully admitted or paroled into the U.S. is no longer
equired to be in p of a preprinted Form 1-94. A record of admission printed from the CBP website constitutes a lawful record of
admission. See 8 CFR § 1.4(d).
& If an employer, local, state or federal agency req dni: information, p your admission (I-94) number along with any
additional required ¢ d by that employer or ag
& Note For rity we d that you close your browser after you have finished ig your I-94 numb

For inquiries or questions regarding your |-94. please click here

Accessibility | Privacy Policy

